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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND


AMERICAN COLLEGE OF
OBSTETRICIANS AND
GYNECOLOGISTS, on behalf of its members
and members’ patients,
COUNCIL OF UNIVERSITY CHAIRS OF
OBSTETRICS AND GYNECOLOGY, on
behalf of its members and members’ patients,
NEW YORK STATE ACADEMY OF
FAMILY PHYSICIANS, on behalf of its
members and members’ patients,
SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE COLLECTIVE,
on behalf of its members and members’
patients, and
HONOR MACNAUGHTON, M.D.,

       Plaintiffs,
                                                       Civil Action No. TDC-20-1320
       v.

UNITED STATES FOOD AND DRUG
ADMINISTRATION,
STEPHEN M. HAHN, M.D., in his official
capacity as Commissioner of Food and Drugs,
and his employees, agents and successors in
office,
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES and
ALEX AZAR, J.D., in his official capacity as
Secretary, United States Department of
Health and Human Services, and his
employees, agents and successors in office,

       Defendants.



                                          ORDER

      For the foregoing reasons, Plaintiffs’ Motion for a Preliminary Injunction, ECF No. 11, is

GRANTED IN PART and DENIED IN PART. The Motion is granted as to the due process claim
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arising from the in-person dispensing and signature requirements applicable to the prescribing of

mifepristone to medication abortion patients, subject to the specific terms identified in the

accompanying Preliminary Injunction. The Motion is otherwise denied.



Date: July 13, 2020                                  /s/ Theodore D. Chuang
                                                    THEODORE D. CHUANG
                                                    United States District Judge




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